        Case 19-16046-mdc                        Doc          Filed 10/20/21 Entered 10/20/21 13:54:51                                    Desc Main
                                                              Document      Page 1 of 5
 Fill in this information to identify the case:

 Debtor 1              Wilson Santiago, Jr.

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the: Eastern District of Pennsylvania (Philadelphia)
                                                                                       (State)
 Case number           19-16046




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                       12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security intere st in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor: Wells Fargo Bank, N.A., as Trustee for                                Court claim no. (if known): 2
Carrington Mortgage Loan Trust, Series 2006-FRE2 Asset-Backed Pass-
Through Certificates
   Last 4 digits of any number you use to                                                  Date of payment change:
   identify the debtor's account:                             XXXXXX6285                   Must be at least 21 days after date       12/01/2021
                                                                                           of this notice

                                                                                           New total payment:                        $ 484.26
                                                                                           Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
            No
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:


                       Current escrow payment:            $ 42.57                                        New escrow payment: $ 39.27


Part 2:        Mortgage Payment Adjustment

 2.     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?

            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:


                       Current interest rate                                    %                        New interest rate:                       %

                       Current principal and interest payment: $                                         New principal and interest payment: $


Part 3:         Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)
                       Reason for change:
                       Current mortgage payment:          $                                              New mortgage payment: $




Official Form 410S1                                                    Notice of Mortgage Payment Change                                              page 1
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Debtor 1           Wilson Santiago, Jr.                                                  Case number (if known) 19-16046
                   First Name       Middle Name        Last Name




Part 4:         Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
             I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




     /s/ Randall Miller                                                                       Date October,20, 2021
    Signature



    Print:                Randall Miller__                                                   Title     Agent
                          First Name                  Middle Name      Last Name



    Company               Carrington Mortgage Services, LLC



    Address               43252 Woodward Avenue, Suite180______________________________
                          Number              Street

                          Bloomfield Hills, MI 48302______________________________________
                          City                                        State       ZIP Code



Contact phone             (248) 335-9200     Email         bankruptcy@rsmalaw.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                            page 2
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                      UNITED STATES BANKRUPTCY COURT
              EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
                 _______________________________________________

In Re:                                                              Case No: 19-16046 - Chapter: 13
                                                                      Judge: Magdeline D. Coleman
Wilson Santiago, Jr. ,

                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on October 20, 2021, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

Wilson Santiago, Jr.               Debtor's Attorney                Chapter 13 Trustee
183 W. Wilt Street                 Robert D. Steinberg              Kenneth E. West
Philadelphia, PA 19122             1845 Walnut Street               1234 Market Street
                                   24th Floor                       Suite 1813
                                   Philadelphia, PA 19103           Philadelphia, PA 19107


                                                                    U.S. Trustee
                                                                    U.S. Trustee
                                                                    200 Chestnut Street
                                                                    Suite 502
                                                                    Philadelphia, PA 19106



The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
